MORRISS REALTY COMPANY TRUST NO. 1, JULIA L. MORRISS, VERNON S. MORRISS, ALEXANDER W. MORRISS, JR., AND HERBERT S. MORRISS, TRUSTEES FOR EDITH MEPHAM, JULIA L. MORRISS, VERNON S. MORRISS, ALEXANDER W. MORRISS, JR., HERBERT A. MORRISS AND HERBERT S. MORRISS, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  MORRISS REALTY COMPANY TRUST NO. 2, JULIA L. MORRISS, VERNON S. MORRISS, ALEXANDER W. MORRISS, JR., AND HERBERT S. MORRISS, TRUSTEES FOR EDITH MEPHAM, JULIA L. MORRISS, VERNON S. MORRISS, ALEXANDER W. MORRISS, JR., HERBERT A. MORRISS AND HERBERT S. MORRISS, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Morriss Realty Co. v. CommissionerDocket Nos. 41023, 41024, 45863, 45864.United States Board of Tax Appeals23 B.T.A. 1076; 1931 BTA LEXIS 1774; July 10, 1931, Promulgated *1774  1.  Where a father creates a trust and constitutes his sons trustees, the avowed purpose of the trust being the liquidation of the settlor's property, no control over the trustees being vested in the beneficiaries, held, a trust and not an association.  (Trust No. 1.) 2.  Where the settlors of a trust are two brothers, and their children are made trustees and beneficiaries, the purpose being liquidation of the property, the control of trustees by beneficiaries being limited and the beneficiaries' certificates of interest nontransferable, held, a trust and not an association.  (Trust No. 2.) C. A. Newton, Esq., and George D. Burroughs, Esq., for the petitioners.  Brooks Fullerton, Esq., for the respondent.  MATTHEWS *1077  Proceeding No. 41023 involves a deficiency in income tax of the Morriss Realty Company Trust No. 1 for its fiscal years ending November 30, 1924, 1925 and 1926; proceeding No. 45863, a deficiency with respect to the same trust for the fiscal year 1927; proceeding No. 41024, deficiencies for the fiscal years 1924, 1925 and 1926, with respect to Morriss Realty Trust No. 2; and proceeding No. 45864, a deficiency as*1775  to the same trust for the fiscal year 1927.  The four cases were consolidated for hearing.  The amounts of these deficiencies are as follows: Fiscal yearTrust No. 1Trust No. 21924$506.12$4,486.4019253,503.104,925.2219261,551.283,763.3919271,813.791,558.11Total7,374.2914,733.12These sums in neither case include interest thereon claimed by the respondent.  The principal assignment of error as to both trusts for all years involved is the respondent's computation of each petitioner's tax as an association instead of a trust.  With respect to Trust No. 1, the minor errors assigned by petitioner were disallowance of deductions as follows: Fiscal yearItemAmount1924Donations$55.001925Improvement taxes28.281925Federal income tax90.821926Improvement taxes40.681926Federal income tax604.12The minor errors assigned with respect to Trust No. 2 are disallowance of deductions as follows: Fiscal yearItemAmount1924Federal income tax$601.961924Special improvement tax144.131924Donations127.601924Profit on mortgage2,227.611925Donations412.501925Special taxes1,130.231925Federal income tax1,237.541926Donations360.001926Special taxes227.701926Federal income tax959.03*1776  In the petitions filed for the first and second trusts for the year 1927 no minor issues are raised.  Petitioners' returns are made on the basis of a fiscal year, beginning December 1 and ending November *1078  30.  The petitioners presented no evidence with respect to the minor assignments of error set out above and we assume such errors were waived.  FINDINGS OF FACT.  Trust No. 1.The trustees of Trust No. 1 were Alexander W. Morriss, his nephew, Ralph A. Morriss, and his two sons, Vernon S. Morriss and Alexander W. Morriss, Jr.  The settlor was A. W. Morriss, and the res was vacant land in Granite City, Ill. A. W. Morriss was the sole cestui que trust until his death on November 19, 1923.  The original trust had been created on April 9, 1907, for the period of ten years.  Under the terms of this instrument the four trustees, or any two of them, might subdivide the realty, erect buildings on it, sell and convey all or portions, encumber it, borrow money for the purposes of the trust, including mortgaging the trust realty, and collect all rents.  The beneficiary was to receive all the proceeds during his life with a right to dispose of them at his death*1777  or by prior assignment.  In the event of more than one beneficiary, no beneficiary was to sell or assign his interest without first offering it to the other beneficiaries.  A trustee might appoint his successor upon resignation or by will; and in the absence of such appointment the judge of the local circuit county court was to do so.  It was further provided: Any of the trustees herein named, or their successors, shall be required to resign his trust upon the written request of the owners of not less than five-eighths in value of the beneficial interests aforesaid, or, on failure so to do, may be removed therefrom and a successor appointed by the Judge of the Circuit Court of Madison County, aforesaid, in term time or vacation, upon the application of the owners of such five-eighths, as aforesaid, such removal and appointment to be evidenced by writing and recorded as aforesaid.  On December 26, 1916, the trust was extended by instrument to December 17, 1930.  An indenture made December 6, 1918, between the cestui que trust and his wife, Julia, on the one hand, and the trustees on the other, substituted Herbert S. Morriss as trustee in place of Ralph A. Morriss, deceased; *1778  and conveyed further land to the trustees in Madison and St. Clair Counties, Illinois, these new additions to the res to be impressed with the same trust as the land originally conveyed.  On April 6, 1922, a further agreement was entered into between the same beneficiary and the same trustees by which the original instrument was amended "to include in the powers of said Trustees, and their successors, additional power from time to time, as in their judgment shall seem best to purchase, or otherwise acquire, tracts of land other than those specified in the instrument recorded * * * *1079  also personal property, which said tracts of land, or personal property, when so acquired by said trustees shall be held by them as trustees under all of the terms and conditions contained in the instrument as recorded * * * and all subsequent instruments of writing hereinbefore referred to, including this agreement * * *." The instrument also ratified and confirmed all previous purchases and sales of property by the trustees.  The power to make further purchases here conferred was not exercised, however, after the death of A. W. Morriss on November 19, 1923; or in other words, in the taxable*1779  years involved.  On the death of A. W. Morriss, his widow, Julia, and four children became beneficiaries in his stead.  At the same time his widow succeeded him as trustee and has remained such.  At the time A. W. Morriss died the res consisted of nine unsold lots, a one-half interest in two office buildings in Granite City and about 500 acres in Cass County, Minnesota.  In 1910 the trustees bought a corner lot.  In April, 1923, the trustees bought corner lots of 80 square feet in Madison to protect other property owned by the trust.  They controlled no other property.  At that time some "time" payments on houses and lots were due.  The beneficiaries wished the trust wound up so the trustees in 1924 hired salesmen, a sales manager, and advertised by bill boards, in newspapers, etc., to sell land.  They sold three of the nine lots.  In that year the trustees disbursed $1,285.19 of income to the beneficiaries.  The amounts given herein were returned by petitioner as profits, or income, from liquidation of the trust property.  In 1925 they built three bungalows on lots in order to sell them and sold two of the three.  In that year they distributed $15,000 in profits among the*1780  beneficiaries, resulting from sales on "time payments," contracts, etc.  In 1926 they built five houses on half of the ten lots in East St. Louis to sell them, but did not.  The "dividends," or profits, distributed in 1926 were $13,283.43.  In 1927, they sold four of the five houses and distributed to the beneficiaries $16,631.57 in profits.  At the end of that year (the petitioner's fiscal year ending November 30) the trustees still had five lots in East St. Louis, three in Madison, Ill., the Minnesota property and the one-half interest in the two office buildings.  They rented the one-half interest in the Morriss and Woolworth Buildings.  This was business property.  Between 1924 and 1927 they had reduced $78,000 in mortgages against the trust property to $32,600.  All efforts were made during these four years to liquidate.  A. W. Morriss, Jr., was managing trustee of Trust No. 1.  The beneficiaries never at any time attempted to remove a trustee, never selected any new successor trustee and never asserted any control over the trustees.  *1080  The petitioners put in evidence individual returns for Trust No. 1, for the fiscal years ending November 30, 1924, 1925 and 1926, *1781  and its corporation return for 1927; also fiduciary returns for 1924, 1925, 1926 and 1927, as to Trust No. 1.  Trust No. 2Trust No. 2 was created from property, one-third of which was furnished by Herbert S. Morriss (whose interest his son, R. A. Morriss, represented) and two-thirds by A. W. Morriss, Sr., one-half of which, or one-third of the whole estate, being distributed equally among the latter's two sons, Vernon and Alexander, Jr.  The original indenture was entered into on December 17, 1910, by A. W. Morriss, Julia, his wife, and Ralph A. Morriss, on the one part, and A. W. Morriss, R. A. Morriss, Vernon S. Morriss and A. W. Morriss, Jr., on the other, by which the latter were constituted trustees of certain property therein conveyed in trust for the following beneficiaries in the following proportions: SharesA. W. Morriss33 1/3R. A. Morriss33 1/3Vernon S. Morriss16 1/6A. W. Morriss, Jr16 1/6The trustees or any three of them were given certain powers of subdivision of the land into lots, sale, conveyance, borrowing money, collecting rents, and distributing proceeds.  The beneficiaries might sell, pledge or assign their shares, *1782  but first must offer them to the trustees and remaining beneficiaries.  The trust was to continue until all the trust property was sold by the trustees; and if any should remain unsold at the end of ten years it was to be sold at public auction within thirty days thereafter and the proceeds distributed to the beneficiaries.  In the event of any trustee's resignation or death "his successor shall be appointed by a majority of the interests of the beneficiaries herein named, by instrument in writing, duly acknowledged and recorded; * * * but if such appointment be not so made by will, or be not made within twenty days after resignation or refusal to act, then such successor shall be chosen and appointed by the three remaining Trustees by an instrument in writing duly acknowledged and recorded"; and on failure of such appointment, by the judge of the local county court.  "Any of the Trustees herein named, or their successors shall be required to resign this trust upon the written request of the owners of not less than five-eighths in value of the beneficial interests aforesaid, or, on failure so to do may be removed therefrom, and a successor appointed by the judge of the Circuit *1081 *1783  Court of Madison County aforesaid, in term time or vacation, upon the application of the owners of such five-eighths as aforesaid, such removal and appointment to be evidenced in writing and recorded as aforesaid." An annual report of the trustees, to be made to the beneficiaries gathered at an annual meeting, was provided for, and also special meetings of the beneficiaries to be called at the discretion of a majority of the trustees.  By an instrument dated December 26, 1916, the trust was extended for twenty years from December 17, 1910, or in effect until December 17, 1930.  By another instrument, dated December 16, 1919, the action of the trustees in acquiring certain specified tracts of land was ratified and approved.  The trustees under the trust, as extended by the second instrument and enlarged by the third, were authorized at the termination thereof, by limitation of time, or otherwise, to pay the proceeds to the beneficiaries "in the proportion as the shares shall then be held and owned." All new property acquired was impressed with the same trust.  It is recited in this instrument that R. A. Morriss, one of the beneficiaries, had died on October 29, 1918, leaving as his*1784  heirs his widow Ellen, his father Herbert, and Balfour S. Craib, the husband of his deceased sister; and that the interest of the other heirs had been acquired by purchase by Herbert S. Morriss, the father, who thereby became a beneficiary of the trust to the extent of 33 1/3 per cent of the shares of the trust estate.  After the death of A. W. Morriss in 1923, his trust interest, amounting to 33 1/3 shares, went to his widow, Julia (also a trustee), his two sons, Vernon and Alexander, Jr. (both trustees), and to another son, H. A. Morriss, and a daughter, E. M. Matlock.  It was divided into five parts, and in order to show the amount of interest which each of these beneficiaries held, certificates of interest were issued to them at the end of the year of A. W. Morriss's death, 1923.  These certificates of interest were nonnegotiable.  The interest itself might be parted with by assignment as set out above in the original trust instrument but must first be offered to the trustees.  It was never so offered.  No certificates of interest, otherwise than as stated, were issued by this trust and no one held any beneficial interest in it outside the Morriss family.  Nor was any beneficial*1785  interest in it ever placed on the market.  At the time of the death of A. W. Morriss, Sr., in 1923, the res consisted of unplatted acreage and some platted ground.  No additional property was acquired after that date.  Before that date, however, as appears from the trust instrument of December 16, 1919, ratifying prior purchases, certain land was bought.  This trust after *1082  creation bought certain city property in Granite City, the Vorwald farm at a cost of $55,000 and the Lubitsch farm at a cost of $40,000.  In 1919 it also bought for $24,000 the 30 acres of the Johannigmeier tract.  All of the city property was platted except 20 acres and houses were built on these lots to sell them.  A. W. Morriss, Jr., was managing trustee of Trust No. 2, as well as of Trust No. 1.  All the property of the trust was offered for sale; but no property was listed for sale by the trust except trust property.  In 1924, the trustees sold 153 vacant lots.  In the same year they built two houses to stimulate sales.  All sales were on "time payments," the customary terms being $20 down and $5 a month.  The income for that year was realized from payments made on sales of previous years. *1786  In 1924, $24,750 profit was distributed among the beneficiaries.  In 1925 the same amount in profits, $24,750, was distributed to the beneficiaries, resulting from the sale of 121 lots, and from sales of previous years.  In 1926 they sold 20 lots and distributed $15,000 in profits.  In 1927, $10,000 was distributed.  Altogether in the four taxable years the trustees sold of the Trust No. 2 estate 300 lots and distributed to the beneficiaries $74,500 of profits.  The trustees borrowed money from time to time from banks on their notes, to build houses.  They would borrow money by mortgages on the houses built at about 50 or 60 per cent of the selling price.  This money was used for the construction of more houses.  They paid off this indebtedness from receipts on previous sales.  They sold on contract for deed; on payment of one-half the purchase price, they would make conveyance and take back a purchase-money mortgage.  In handling purchase-money mortgages which they themselves gave, they borrowed money on the land to pay the vendors and later retired the indebtedness from receipts.  They seldom rented houses, and then for only a few months.  They owned such tools and trucks as*1787  were necessary in the construction of houses.  As to Trust No. 2, the petitioners put in evidence individual returns for the fiscal years 1924, 1925 and 1926, and corporation return for 1927; also fiduciary returns for 1924, 1925, 1926 and 1927.  OPINION.  MATTHEWS: Since no evidence was introduced with respect to the minor issues raised by petitioners, we may regard them as abandoned.  The sole issue, and the only one argued by counsel, is whether the two trusts are taxable as trusts or as associations under the identical provision of the Revenue Acts of 1924 and 1926: SEC. 2. (a) When used in this Act - * * * *1083  (2) The term "corporation" includes associations, joint-stock companies, and insurance companies.  The petitioner attempts to raise a question upon section 704 of the Revenue Act of 1928, which provides in substance that a taxpayer who has filed his return as a trust for any taxable year prior to the taxable year 1925 shall be taxable as a trust and not as a corporation, if it was to be considered a trust under the Treasury regulations in force at the time the return was made, or under any ruling of the Commissioner interpreting the revenue acts. *1788  Subsection (b) of the same section deals with the situation of a single trustee and may be disregarded, therefore, in this connection.  This provision was intended to give a taxpayer, which might be either a trust or an association according to the test applied by the Commissioner pursuant to decisions of the Supreme Court, the benefit of the Supreme Court's earlier "control test," of . With respect to the present petitioners, however, this issue is disposed of for the reason that the 1924 returns were filed after the effective date of the new regulations which were formulated to incorporate the new tests set out by the Supreme Court in . The Board discussed this question at length in the case of , and adopted the Commissioner's ruling fixing the effective date of the new regulations and rulings at August 11, 1924. The distinction between trust and association has been considered by this Board in many cases, and the principles laid down by the Supreme Court in the Crocker and Hecht cases and *1789 , construed.  An historical review of these principles appears in . More than a brief reference to them here is unnecessary.  The Crocker case involved the Federal income tax and the court reached the conclusion that the trust was not an association, after applying the test of control of the trustees by the beneficiaries.  In the Hecht case this criterion was apparently subordinated, for the court said: The trusts are to be deemed associations within the meaning of the Act of 1918, this being true independently of the large measure of control exercised by the beneficiaries in the Hecht and Haymarket cases, which much exceeds that exercised by the beneficiaries under the Wachusett Trust.  It further stated that it did not believe such an organization "should be exempt from the excise tax [capital stock tax] on the privilege of carrying on their business merely because such a slight measure of control may be vested in the beneficiaries, that they might be deemed strict trusts within the rule established by the Massachusetts courts." The court*1790  spoke of the trustees being "associated together in much the same manner as the directors in a corporation for the purpose of carrying on business enterprises." *1084  All the inferior Federal Court and Board cases that have arisen since the Hecht case have tended to emphasize the test of business purposes.  It would seem possible to reconcile the Crocker case with the Hecht case by regarding the control test applied in the former as a necessary ingredient of the quasi-corporate structure test which is touched upon in the Hecht case.  The next important case decided by the Supreme Court was the Burk-Waggoner case in which the court held that an organization, although a partnership under Texas law, was nevertheless to be treated as an association under Federal income-tax law and not as "an ordinary partnership." By reason of its quasi-corporate form and "because of this resemblance in form and effectiveness, these business organizations are subjected by the Act to these taxes as corporations." This case again involved the income tax, but no reference is made in the opinion to the Crocker case.  We therefore have a triple test: (1) Business purpose; *1791  (2) business operations; and (3) quasi-corporate structure.  There has unavoidably been some variation in emphasis, depending upon the particular facts of the case, put by various courts upon these tests.  Trust No. 1.When we come to the application of these principles to the facts of the first trust in the instant case, we find that Trust No. 1 had three trustees, two of them, Vernon and A. W., Jr., being sons of the settlor, and Ralph, his nephew.  The sole beneficiary was A. W. Morriss himself the settlor, who had a right to dispose of his interests by will, or other instrument during his life.  After the beneficiary's death, his widow, Julia, and his four children, H.A., Edith, Vernon and A.W., Jr., became beneficiaries.  Under the original instrument of April 9, 1907, the term of the trust was ten years and at the end of the term any property still unliquidated was to be sold at public auction.  Any of the two trustees might subdivide, convey land, and borrow money, etc.  A trustee might appoint his successor by instrument or will and if no such appointment was made, the judge of the local court was to do so on application of the beneficiaries.  The trustees must resign*1792  on request of five-eighths of the beneficial interest.  The proceeds of the liquidation of the trust property were to go to the beneficiary during his life and on the termination of the trust the balance unliquidated also.  His interest was assignable in whole or in part during his life and at his death by will.  Neither the beneficiary nor his assigns, however, had any right to partition the property; his right was to the proceeds only; and no beneficiary, if an assignment should be made, had any right to encumber any part of the holdings or to sell any part without first offering it to the *1085  other beneficiaries.  The second trust instrument of December 26, 1916, extended the trust to December 17, 1930.  The third trust instrument of December 6, 1918, substituted Herbert S., brother of the settlor, for the former's son, Ralph, who had died in the meantime; and by the same instrument the corpus of the trust was increased by a further conveyance made by the beneficiary and his wife to the trustees.  The fourth and last trust instrument of April 6, 1922, conferred additional power on the trustees to purchase land and other property and ratified prior acquisitions and sales*1793  of the property by the trustees.  No land was bought, however, after A. W. Morriss's death in November, 1923.  Applying the control test to this situation, we find only such powers in the beneficiaries as would appear in the ordinary trust, with the exception of the power of five-eighths of the beneficial interest to compel the trustees to resign.  The trust does not have a quasi-corporate structure.  Although the beneficial interest may be assigned, it is not divided into shares or units of interest with the intention of making it freely transferable.  There are apparently contemplated no regular meetings in the nature of directors' meetings.  Applying the test of business purpose this trust has certain of the aspects of an "ancestral trust," which has been passed upon by the Board in several cases hereinafter considered, for although the settlor had the sole beneficial interest in the beginning, his children were given the management of the property during his lifetime and whenever the beneficiary should die, would become the heirs of such beneficial interest, as they in fact ultimately became.  As to business operations, the trustees were authorized to purchase and did purchase*1794  additional land; and having authority to subdivide city property, they did so; and in order to sell the lots more readily built houses upon some of them.  They also rented to tenants two office buildings in which the trustee owned a one-half interest, but the renting of these would not obstruct the purpose of liquidation, but would, since this was business property, help the sale.  On the authority of the Supreme Court cases decided under the Corporation Excise Tax Act of 1909, upon which respondent's counsel relies, it might be said that the trustees were engaged in business, ; ; ; ; but even if we say that they were engaged in business, we must not lose sight of the original purpose for which the trust was created, that of liquidation of the property; and the doing of other acts incidental to this ultimate purpose would be justified on the ground of conservation of property and securing the means of earlier liquidation.  This argument*1795 *1086  was completely answered in , in which the Circuit Court of Appeals for the Fifth Circuit affirmed this Board's decision reported in . The court said: It is contended that the test is whether the respondent was conducting a business and the beneficiaries had control of the trustees.  To sustain this, a number of cases dealing with the doing of business are cited.  They need not be reviewed as it may be considered settled, within the meaning of the taxing laws, that, if a corporation is doing that for which it was organized, for the purpose of earning profit, very slight activity is sufficient to constitute the doing of business.  [Cases cited.] On the other hand, if a corporation is not organized for profit, but merely to hold real estate for ultimate disposal and liquidation, it is not doing business, although it incidentally collects the rents and distributes them.  [Cases cited.] And it was said in : The power to take over and run the business of the Costello corporation given to the trustees in the deed of trust*1796  is limited by the purpose for which the trust is created.  It does not change the essential character or object of the trusteeship; i.e., liquidation, not continuing business activity.  Cf. , reversed by the Circuit Court of Appeals for the First Circuit in , following the principle of the Hornblower case.  The , presents a factual situation as to trust powers, purpose and activities closely analogous to those in the instant case.  A mother was the settlor, the trustees were her two sons-in-law, the beneficiaries were herself and her two daughters.  The Board stated its conclusion in that case as follows: It was not chartered under any statutory law, but was created by deed, as permitted under the general trust laws of the State of Texas.  The trust held only the legal title to the assets, the beneficial interest therein being in the beneficiaries.  It did not issue certificates evidencing proportional interest owned by each beneficiary.  The beneficiaries had no voice in or control over the fundamental policies of the organization.  They could*1797  only remove a trustee and designate another by written declaration, executed in the form prescribed for the execution of a deed.  There was no board of directors.  At first there were two trustees, each empowered to act alone if he deemed it necessary.  Later, the bank was sole trustee.  There was no periodical or regular manner of distribution of profits among the beneficiaries.  It is true that the trustees continued to carry on the several businesses in which J. B. Wilson was engaged prior to his death, and they sold assets, bought other assets, improved ranches, and kept the property in repair, none of which activities is inconsistent with a trust.  They were within the purview of the deed creating the trust.  The trust was not created for the purpose of carrying on a business, and the trustee bought and sold, and carried on other transactions, such as making repairs, only for the purpose of conserving the assets until a favorable time should arrive when a liquidation could be effected under fairly favorable circumstances, and make a distribution among the beneficiaries.  *1087  In view of all the facts in this case we hold that the Wilson Syndicate Trust should be taxed*1798  as a trust and not as a corporation.  * * * The Board's decision as stated was affirmed by the Circuit Court, the court saying: The difference between the respondent and the Massachusetts trusts considered in , is very marked.  The respondent was not organized for the purpose of doing business for profit, nor for doing business at all.  Its purpose was to liquidate and distribute an estate.  The beneficiaries, other than its creator, had no vested interest in the property and no voice in instituting the trust.  They received their distributive portions purely as donations from their mother, and could not dispose of their interest, except by an equitable assignment of their rights, subject to the orderly administration of the trust.  Such slight business activities as the trustee conducted were in furtherance of the ultimate purpose of liquidation and distribution.  The similarity as to the provisions for terminating the trust, amending the deed, and removing and electing trustees are hardly material, as they are not unusual in express trusts.  The test urged by the petitioner has no application to the facts in this case.  A distinction*1799  is to be made between an agreement between individuals in the form of a trust and an express trust created by an ancestor, although they may have some features in common.  The controlling distinction is that one is a voluntary association of individuals for convenience and profit, the other a method of equitably distributing a legacy or donation.  Congress has recognized this distinction, classing the former as associations, to be taxed as corporations, and at the same time providing for a separate and distinct method of taxing the income of estates and trusts created by will or deed, classing them together for that purpose.  Section 219, Revenue Act of 1921.  In , affirmed by the Circuit Court of Appeals for the Third Circuit in , certiorari denied, , a very different situation was presented.  In that case four men assigned property to themselves as trustees.  They were engaged in buying and selling real estate, and mining for oil.  Capital stock was issued and the shares were freely trusferable.  The trustees were given very full powers.  But, as the*1800  court said, "The real test is whether the stockholders or trustees, or both combined, carry on business for profit, and if they do, they constitute a business trust - in legal effect an association or a joint stock company - with liability for taxes." It held that by this test the taxpayer was an association.  Nor is it difficult to distinguish the instant case from the line of Board dicisions represented by the Lansdowne Realty Trust case, , in which articles 1502 and 1504 of the Commissioner's regulations (62, 65, 69) are reviewed and citations of the Commissioner's rulings on specific cases are collected.  In that case the trustees held a lot and one-story building.  They made leases, etc., collected the rents and made monthly distributions of the estimated income, the balance in income being distributed at the end of the *1088  year.  The trustees never considered a sale of the premises.  The persons interested were evidently associated together for a business purpose.  No ancestral donation was involved.  The findings of fact show that no thought of liquidation of the assets arose and no liquidation took place.  The Board held the taxpayer*1801  an association on the facts there present, but even on these facts there was room for a reasonable difference of opinion.  The Circuit Court of Appeals for the First Circuit took a different view from that of this Board and reversed the Board's judgment, saying in its decision of May 28, 1931: * * * They [the trustees] were not conducting business after the mode and manner of a corporation, but were doing nothing more than trustees ordinarily would be called upon to perform in the management of the property.  The same Circuit Court had the same day reversed the District Court for Massachusetts in . In that case the decedent's estate after his death was transferred by his heirs to trustees who managed the estate, made leases and collected rents.  The stockholders had no control, but an element of corporate form appeared in the transferable shares. The District Court apparently on this ground held the body an association, for it said, "whether its activities amounted to carrying on business is a distinct question." The Circuit Court, considering the nature of the trust's creation, thought it a trust.  Here, we have*1802  a father and his sons, the father being the grantor.  The confessed object of the trust was liquidation of the property, and this was carried on as fast as was expedient.  Only such property was bought as was necessary to protect property already held, and no new property at all was acquired after the father's death.  The trust was not quasi-corporate in structure, for the interests were not readily transferable and were held only by members of the settlor's family; and the beneficiaries had no control over the trustees and held no meetings.  Where the ancestral element has been present and the evident object of a trust has been liquidation of property, and Board has followed the principle of , and held such bodies trusts and not associations.  In , the body was held a trust, although the shares were transferable.  In that case a father conveyed to himself and two sons as trustees, in trust for the father, the two sons and two daughters.  Again in *1803 , the same view was sustained, but by a divided Board, since a differentiating factor there entered, the descent of the property to the children having taken place before the trust was created. In the light of the authorities, we hold that Trust No. 1 was a trust and taxable as such, and not an association.  *1089 Trust No. 2.With respect to Trust No. 2, although the facts may not present so clear a case, we have reached the same conclusion.  In Trust No. 2 there are certain specific differences which distinguish it from Trust No. 1.  The original instrument creating Trust No. 2, on December 17, 1910, fixed a term of ten years at the end of which the property was to be sold at auction, if not sooner liquidated.  Any three of the four trustees might subdivide, sell, convey, etc., rent and build.  The trustees had no authority to appoint their successors unless the beneficiaries should have failed to act, and in such case three of the trustees might name the new trustee.  If the trustees did not act, then the local court might appoint a new trustee on application of 2 per cent of the beneficial interest.  The*1804  beneficiaries had no right to partition the property, but the right to proceeds only.  They had the right by a majority of the interest to appoint a new trustee and five-eighths of the beneficial interest might compel any trustee or trustees to resign.  In the beginning no transferable shares were issued, but the interests of the beneficiaries might be sold, pledged, transferred, etc., with the limitation that in the case of such sale by a beneficiary he must first offer his interest to the trustees and other beneficiaries.  Annual meetings of the beneficiaries were held on the first Monday in May, when a report of the trustees was presented.  This appears to be the fair import of the provision, which is as follows: Any of the Trustees herein named, or their successors shall be required to resign this trust upon the written request of the owners of not less than five-eighths in value of the beneficial interests aforesaid, or, on failure so to do may be removed therefrom, and a successor appointed by the judge of the Circuit Court of Madison County aforesaid, in term time or vacation, upon the application of the owners of such five eighths as aforesaid, such removal and appointment*1805  to be evidenced in writing and recorded as aforesaid.  * * * * * * at annual meetings held at the office of the said Trustees in Granite City, Illinois, at three o'clock P.M. on the first Monday in May of each year said Trustees and their successors shall make and submit a statement of all receipts and expenditures on account of said Trust and a full report of their acts and doings during the year in respect to said real estate and the execution of the Trust and said Trustees shall cause notice of the said annual meetings to be given to the said beneficiaries and their assigns by written notice addressed to each of them respectively, deposited postage prepaid, in the post office in the City of Granite City not less than five days previous to the date of such meetings; provided special meetings of said beneficiaries, their legal representatives and assigns may also be called whenever said Trustees or a majority of them deem necessary or advisable, by notice addressed and deposited as aforesaid not less than one day previous to such meetings.  The second instrument of December 26, 1916, extended the term of the trust for twenty years from December 17, 1910.  It also confirmed *1806 *1090  in the trustees all rights and powers to land conveyed to them since the original trust instrument, and to such land as might thereafter be conveyed.  The third trust instrument of December 16, 1919, fixing the extended term at December 16, 1930, substituted Herbert S. Morriss for his son, Ralph, deceased, as a trustee, and gave the trustees a right to purchase further lands subject to the trust.  Herbert Morriss acquired the beneficial interest from Ralph by purchase from Ralph's heirs.  The same instrument ratified the purchase of several tracts of land which had been made on December 17, 1915, November 20, 1916, April 17, 1917, April 1, 1918, July 11, 1919, and December 24, 1919, all of which property was to be impressed with the same trust.  No land in this trust was bought after the death of A. W. Morriss in November, 1923.  The trustees under this trust were A. W. Morriss, who conveyed to the trustees approximately two-thirds of the property, Vernon, his son, A. W., Jr., another son, and Ralph, the son of H. S. Morriss, brother of A. W. Morriss. H. S. Morriss had, through his son Ralph, conveyed to the trust approximately one-third of its property.  The beneficiaries*1807  were the same four persons as the trustees, A. W. Morriss holding 33 1/3 shares, his two sons 16 1/6 shares each, and his nephew, Ralph, 33 1/3 shares.  By A. W. Morriss's will his interest was divided among his widow and heirs which included Julia, his widow, and H. A., Edith, Vernon, and A. W., Jr., his four children.  By Ralph Morriss's death, his father, H. S. Morriss, succeeded, as already stated, by purchase from Ralph's heirs.  The increase in the number of beneficiaries necessitated the issuance of certificates of interest indicating the exact portion of beneficial interest held by each of the beneficiaries, but these were not negotiable and were intended merely as evidences of the proportion of ownership in each beneficiary.  These certificates never passed out of the hands of the original beneficiaries.  Applying to this trust the same principles which we have already discussed, we find that it savors, like the first trust, of an ancestral creation, since the original settlors were two brothers and the beneficiaries were the children of the two settlors, one settlor also being included in this group.  The ultimate purpose also was the liquidation of the property.  It is*1808  true that as in the case of the first trust, new property was acquired by the trust from time to time, including three substantial purchases as set out in the facts, the Vorwald Farm at $40,000; the Lubitsch Farm at $50,000; and the Johannigmeier Tract at $24,000.  These were, however, adjoining properties.  The trustees also subdivided the property of the trust and built houses on it from time to time in order to expedite the sale, but the ultimate purposes being liquidation and the trust having *1091  more or less of an ancestral character, we may disregard the acts done by the trustees incidental to the conservation and more ready liquidation of the property.  It was, like Trust No. 1, strictly a family affair.  Since Trust No. 2 meets this important test, it is idle to insist upon here, or even consider, other criteria which might distinguish it from Trust No. 1.  Neither counsel for the petitioner nor for the respondent attempted to distinguish one from the other.  It is perhaps true that there are elements in Trust No. 2 which give it something of a quasi-corporate structure, and the fact that all of the trustees were beneficiaries under the original instrument makes*1809  any consideration of the measure of control of the latter over the former, in the beginning at least, academic, but not so later on when the trustees' duties and beneficial interests shifted by death.  We do not believe that such considerations, however, should outweigh the fundamental one of ultimate purpose.  We conclude, therefore, that trust No. 2 was likewise taxable as a trust.  Judgment will be entered under Rule 50.